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12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                          Case No. 8:22-cv-00099-DOC-DFM
15

16                 Plaintiff,                   NOTICE OF SUPPLEMENTAL
                                                AUTHORITY
17     v.
18     BENNIE G. THOMPSON, et al.,
19
                   Defendants.
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 1        The Congressional Defendants respectfully notify this Court of an opinion issued
 2 today in the District Court for the District of Columbia, United States v. Miller, No. 21-

 3 cr-119, ECF 86 (D.D.C. May 27, 2022). In Miller, the District Court for the District of
 4 Columbia granted the defendant’s motion to dismiss his indictment based on the court’s
 5 interpretation of 18 U.S.C. § 1512(c)(2). The United States filed a motion for
 6 reconsideration, which the court has now denied.
 7        Both Congressional Defendants and Plaintiff discuss Miller in their briefing, and
 8 Congressional Defendants alerted this Court to the pending motion for reconsideration in

 9 their brief. See ECF 350 at 11. The opinion denying the motion for reconsideration from
10 the District Court for the District of Columbia is attached as Exhibit A.
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12                                             Respectfully submitted,

13                                             /s/ Douglas N. Letter
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21 Dated: May 27, 2022
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 1                             CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:

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     on the interested parties in this action:
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19       (BY E-MAIL OR ELECTRONIC TRANSMISSION)
20         The document was served on the following via The United States District Court –
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22
           in the case:

23
         (FEDERAL) I declare under penalty of perjury that the foregoing is true and
24                 correct, and that I am employed at the office of a member of
                   the bar of this Court at whose direction the service was made.
25
26        Executed on May 27, 2022 here, at Bethesda, Maryland.

27
                                                    /s/ Douglas N. Letter
28



                                   CERTIFICATE OF SERVICE
